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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

Maxum Indemnity Company,                   )
                                           )         CIVIL ACTION FILE
      Plaintiff,                           )         NO. 1:18-CV-01236-WSD
                                           )
vs.                                        )
                                           )
Colliers International – Atlanta, LLC, and )
Alexander Deitch.                          )
                                           )
       Defendants.                         )

CONSENT MOTION FOR EXTENSION OF TIME TO FILE PLAINTIFF’S
 RESPONSE TO DEFENDANT’S MOTION TO DISMISS FOR FAILURE
              TO JOIN A PARTY UNDER RULE 19

        COME NOW Plaintiff Maxum Indemnity Company (“Plaintiff”) and

Defendant        Colliers   International–Atlanta,   LLC    (“Defendant”),   through

undersigned counsel, respectfully request by consent an extension of the deadline

to file Plaintiff’s Response to Defendant’s Motion to Dismiss for Failure to Join a

Party Under Rule 19 with Memorandum of Law in Support (“Motion to Dismiss”)

up to and including May 23, 2018, respectfully showing as follows:

        1.      Plaintiff filed its Complaint on March 23, 2018. (Doc. 1.)

        2.      Defendant filed its Motion to Dismiss on April 18, 2018. (Docs. 6

and 6-1.) Pursuant to Local Rule 7.1, the deadline for Plaintiff to file a Response

to Defendant’s Motion to Dismiss is May 2, 2018.


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        3.      Due to scheduling conflicts, including previously scheduled and out-

of-town matters which have required Plaintiff’s counsel to be away from the office,

Plaintiff needs additional time to investigate Defendant’s assertions and also needs

additional time to prepare and file a Response to Defendant’s Motion to Dismiss.

        4.      Counsel for the parties have conferred and have agreed to the

extension of the deadline to file Plaintiff’s Response to Defendant’s Motion to

Dismiss.

        WHEREFORE, Plaintiff Maxum Indemnity Company and Defendant

Colliers International–Atlanta, LLC respectfully request that this Court grant an

extension of the deadline to file Plaintiff’s Response to Defendant’s Motion to

Dismiss up to and including May 23, 2018. A proposed Order is attached hereto.

        Respectfully submitted this 27th day of April, 2018.

                                               PREPARED AND CONSENTED TO
                                               BY:

950 East Paces Ferry Rd,                       WILSON ELSER MOSKOWITZ
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                                               Attorneys for Plaintiff Maxum Indemnity
                                               Company



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                                              CONSENTED TO BY:

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                                              International–Atlanta, LLC




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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

Maxum Indemnity Company,                   )
                                           )      CIVIL ACTION FILE
      Plaintiff,                           )      NO. 1:18-CV-01236-WSD
                                           )
vs.                                        )
                                           )
Colliers International – Atlanta, LLC, and )
Alexander Deitch.                          )
                                           )
       Defendants.                         )

     CERTIFICATE OF COMPLIANCE WITH TYPE REQUIREMENTS

        Counsel for Plaintiff Maxum Indemnity Company hereby certifies that the

foregoing has been prepared using Times New Roman 14-point font as required by

Local Rule 5.1C.

                                  WILSON ELSER MOSKOWITZ EDELMAN &
                                  DICKER, LLP

                                  /s/ Jeffrey Melcher
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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

Maxum Indemnity Company,                   )
                                           )        CIVIL ACTION FILE
      Plaintiff,                           )        NO. 1:18-CV-01236-WSD
                                           )
vs.                                        )
                                           )
Colliers International – Atlanta, LLC, and )
Alexander Deitch.                          )
                                           )
       Defendants.                         )

                            CERTIFICATE OF SERVICE

        Counsel for Plaintiff Maxum Indemnity Company hereby certifies that the

foregoing CONSENT MOTION FOR EXTENSION OF TIME TO FILE

PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS FOR

FAILURE TO JOIN A PARTY UNDER RULE 19 was electronically filed on

April 27, 2018, using the Court’s CM/ECF system which will electronically serve

all counsel of record in this matter.

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